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UNITED STATES DISTRICT COURT 1311
WESTERN DISTRICT OF TENNESSEE g ’
WESTERN DIVISION
ELIVIETR.A BROWNLEE JUDGMENT IN A CIVIL CASE
mPHIS CITY GOVERNI\‘.'[ENT, CASE NO: 04-2057-1')

MEMPHIS HOUSING AUTHORITY:

ROBERT LIPSCOMB, in his official
position as executive director,
CHARLES NELMS, in his official and
personal capacity and

CLARENCE HOWARD, in his official
and personal capacity

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order
Granting Robert Lipscomb And Dan Nelms' Motion To Dismiss For
Failure To State A Claim entered on November 10, 2004 and Order On
Defendant's Motion To Dismiss entered on May 2, 2005l this cause is
hereby dismissed with prejudice.

APPROVED :

 

 

  
 

ICE B DONALD
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Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:04-CV-02057 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

